     Case 1:24-cv-23359-KMW Document 18 Entered on FLSD Docket 09/09/2024 Page 1 of 2

 AO 440 (Rev. 06/12) Summons in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                      for the Southern District of Florida

                                                   __________ District of __________
UNITED INVESTOR COMMUNITY
INC.                                                                   )
LYADUNNI UDUGBA                                                        )
OLUNGBENGA BERNARD ADESUYI                                             )
(Individually and on behalf of all others                              )
Similarly situated
                                                                       )
                                                                       )
               Plaintiff(s)                                                    Civil Action No. 1:24-cv-23359-XXXX
                   v.                                                  )
                                                                       )
OMEGAPRO FOREX TRADING, LTD                                            )
et Al                                                                  )
         Defendant(s)
                                                                       )
                                                                       )

                                                   SUMMONS IN A CIVIL ACTION

 To: (Defendant’s name and address)              Robert Velghe
                                                 Pfanghofweg 25, 8045,
                                                 Graz-Andritz Austria



           A lawsuit has been filed against you.

          Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
 are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
 P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
 the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
 whose name and address are: J. Wil Morris
                                 Morris Legal LLC
                                 2800 Biscayne Blvd., Ste 530
                                 Miami, FL 33137

        If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
 You also must file your answer or motion with the court.



                                                                                   CLERK OF COURT


 Date:
                                                                                             Signature of Clerk or Deputy Clerk
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 Civil Action No.

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                           .

           ’ I personally served the summons on the individual at (place)
                                                                                  on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                   , a person of suitable age and discretion who resides there,
           on (date)                                , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                        , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                   on (date)                            ; or

           ’ I returned the summons unexecuted because                                                                                ; or

           ’ Other (specify):
                                                                                                                                             .


           My fees are $                            for travel and $                   for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                               Server’s signature



                                                                                           Printed name and title




                                                                                               Server’s address

 Additional information regarding attempted service, etc:




           Print                        Save As...                                                                       Reset
